Case 18-70870-JAD     Doc 218     Filed 03/08/21 Entered 03/08/21 16:37:26   Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
 IN RE:

 LARRY FREDERICK and                         Bankruptcy No. 18-70870-JAD
 SHARON FREDERICK,
                                             Chapter 11
                Joint Debtors,
                                             Document No.
 LARRY FREDERICK and
 SHARON FREDERICK,                           Related to Doc. Nos.: 184, 186 & 200

                Movants,                     ZOOM SALE HEARING Date and Time:
                                             March 16, 2021 at 10:00 a.m.
          vs.

 M&T BANK, THE UNITED STATES OF
 AMERICA FARM SERVICE AGENCY,
 CARGILL, INC., SUSQEHANNA
 COMMERCIAL FINANCE, INC.,
 GROWMARK FS, LLC, FS FINANCIAL
 SERVICES, LLC, WELLS FARGO
 VENDOR FINANCIAL SERVICES, LLC,
 BLAIR COUNTY TAX CLAIM BUREAU,
 PENNSYLVANIA DEPARTMENT OF
 REVENUE, AND THE INTERNAL
 REVENUE SERVICE,

                Respondents.

                    PROOF OF PUBLICATION OF NOTICE OF SALE
                            IN THE ALTOONA MIRROR

          AND NOW, come Larry Frederick and Sharon Frederick, by and through their

 Counsel, Robert 0 Lampl, John P. Lacher, Ryan J. Cooney and Sy 0. Lampl and file

 this PROOF OF PUBLICATION OF NOTICE OF SALE IN THE ALTOONA MIRROR,

 (see attached Proof of Publication).
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                                                Respectfully Submitted,



 Date: March 8, 2021                            Is/Robert 0 Lamp!
                                                ROBERTO LAMPL
                                                PA l.D. #1 9809
                                                JOHN P. LACHER
                                                PA l.D. #62297
                                                RYAN J. COONEY
                                                PA l.D. #319213
                                                SY 0. LAMPL
                                                PA l.D. #324741
                                                Counsel for the Joint Debtors
                                                223 Fourth Avenue, 4th Floor
                                                Pittsburgh, PA 15222
                                                (412) 392-0330 (phone)
                                                (412) 392-0335 (facsimile)
                                                Email: rlampllampllaw.com
Case 18-70870-JAD                Doc 218           Filed 03/08/21 Entered 03/08/21 16:37:26                                     Desc Main
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     PROOF OF PUBLICATION OF NOTICE IN ALTOONA MIRROR
                                    IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                        IN RE:
                        LARRY FREDERICK end                     Bankruptcy No. 18-70870-JAD
                        SHARON FREDERICK,
                                                                Chapter 11
                                 Joint Debtors,                 Docurnent No,
                        LARRY FREDERICK and
                        SHARON FREDERiCK,                       Reiated to.Doc. No.: 184, 186, & 200
                                 Movants,                       ZOOM SALE HEARING Date and Tirne:
                                                                March 16,2021st 10:00 arn,
                    :;i          v.
                    M&T BANK, THEUNITED STATES 0W
                    AMERICA FARM SERVICE AGENCYI
                    CARGILL, INC., SUSQEHANNA
                    COMMERCIAL FINANCE. INC.,
   STATE C          R0WMARK FS, LLC, PS FiNANCIAL:                               :‘




                    SERViCES, tIC, WELLS FARGO    :;
      COT]]         VENDOR FINANCIAL SERVICES, LLC$
                                                                                                 -




                    BLAIR COUNTY TAX CLAIM BUREAUS                  -



                    -PENNSYLVANIA DEPARTMENT OF
                    REVENUE, AND THE INTERNAr      -        -



                    REVENUE SERVICE,
                                                                k                                           ys: That he is the
   Publisher ol          /       Respondents.
                                                                                                            culation, published at
   Number 3W        -     NT1CE OF SALE REGARDING UdnON FOR SALE OF PROPERTY AND
                          PERSONAL PROPERTY FREE AND CLEAR OF ALL UENS. CLAIMS AND                           County’ of Blair, and
   State of Pen     -                         ENCUMBRANCES
                    To: Respondents and all Creditors and Pardes In Interest of the above named Joint
           That                           4.
                    NOTICE IS HEREBtGIVEN THAT Larry Frederick and Sharon FrederIck, Joint                   of general circulation
   on the Tifirt    Debtors, have tiled a Motion for Sale of Real Property and Personal Property Free        er has been published
                    and Clear of All Liens, Claims and Encumbrances (ECF #184) (the ‘Sale Motion”)
   daily in the     through whIch they seek authority to sell the fotlowing parcels ol real property end     to attached, is exactly
                    Personal prepelly:
   as the same                                                                                              the daily ALTOONA
                    p.) 1098 Frederick Road, Madinsburg, PA 16662; BlaIr County Map Number:
   MIRROR Pt        20.0O-09..-0C900-000; Acreage: 161.320;
                    b.) 1219 Frederick Road, Marlinsburg, PA 16662; BlaIr County Map Number:
                    20.O0-09..-000,00-000; Acraage: 66.74 (together with 1098 FrederIck Road, lhe
                    ‘Frederick Road Properties’);
                    c.) 62 Acre Parcel off of Kensinger Road; Map Number 20.00-12-001 .00-000
                    (“Cove Lane’); and
          The       d.) Various pieces of farming equipment and hvestodc. A list of equment and Is at       rested in the subject
   matter of th     tadied to the Sale Motion as Exhibit A. A gst of livestock is attached to the Sale Mo   ons in the foregoing
                    tion as Exhibit B.
   statement as
                   ‘A Zoom Video Conference Hearing Is scheduled for March 16, 2021 at 10:00 a-rn.
                   before Judge Jeffery A. Oeiler via the Zoom Video Conference Application
                   (‘Zoom’). To participate In and join a Zoom Hearing, please initiate and use the fol
                   lowing link at least ten (10) minutes prior to the scheduled Zoorn Hearing time:
                   htts:JA.zocrnooy.ccmfihl 6009283473, or alternatively, you may. use the follow
                   ing MeetIng ID: 160 0928 3473. All participants are required to appear by Zoom and
                   must comply with the Notice of Temporary Modificafion of Procedures Before the
                   Honorable Jeffeiy A. Del/er For Matters Scheduled On or After January 1, 2021,
                   which      can      be      found       on    the      Court’s      website       at
                   htln-/NnN4oawb:uscourts.oowoontenuiudpe-ietter-defier. Persons without video
                   conferenclng capabilities must immediately contact Chambers staff at (412)
                   644-4710 to make alternative arrangements. Absent emergency circumstances,
                   such arrangements must be made no later than three (3) business days prior to the
   Sworn to an     hearing,
                   On February 5, 2â21, this Honorabie Court entered an Order Approving Bid Pro
                   cedures ane Expense Reimbursement (ECF #200) (the Bid Procedures Ordefl.
                   Pursuant to the Bid Procedures Order, Competing Bids will be solIcited for the
                   FrederIck Road Properties and Personal Property (together as one lot) and
                   for Cove Lane (Individually and In bulk with the Frederick Road Properties
                   and Personal Property) and the Bankruptcy Court shall determine the highest
                   or best bid tar the Sale Assets at the Sale Hearing.
                   In order to be eligible to bid at the Sale Hearing, each potential bidder must submit
                   the following items to Ryan J. Cooney, RobertO Lampi Law Office, 223 Fourth
                   4th Floor, Pittsburgh, PA 15222 (omat: rcooney@iampilaw.com) at feast threeAve.   (3)      Commonwealth of Pennsylvania
                   business days prior to the Sale Hearing:
                                                                                                                       Notarial Seal
                   a.) A fully executed Asset Purchase Agreement (APA). the form of which is at               DEnIM 0 MiLLER, Notary Public
                   tached to the Expedited Motion to Approve Bidding Procedures as Exhibit A (ECF#
                   187). in the event thai the bidder submits an APA with any terms tht are not the           ALTOONA CiV BLAIR COUNTY
                   same as the form APA, those terms must be noted in redirne In the executed ver
                   sion of the APA submitted by the Debtor;                                                 My Commission Expires
                                                                                                                                  July   25, 2021
                   b.) An earnest money deposit of $5,000 in cash, a cashier’s check, certified check
                   or wire transfer payable to Roberto Lampi as Escrow Agent for Larry and Sharon
                   Frederick;
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                            c.) Proof, in a form satisfaCtory to the Joint Debtors, of
                               consummate its olfer; and                               the bidder’s financial ability

                            d.) A bid In the minimum amount of:                         -




                            I. For the Frederick Road Properties plus the Personal Proper
                               $215000000 plus the assumption of the Debtors’ obliga      ty:
                               extant of Growmark’s allowed socijrod clam under 11tions to Growmark to the
                        -
                               any, on the Personal Property,                        usc § 506 and 510, if
                        ii. For Cove Lane: $86000000.
                        III.        For       all         Sale        Assets:
                        plus lhe assumption of the Debtors’ obliga                      S3,DI 0.00000
                          lions to Growmark to the extent of Growmark’s allowe
                          USC      506 and 510, If any, on the Personal Property.d secured claim under 11
                        Contact Debtors Counsel for ftirther Information.
                        Date of Notice: February 18, 2021            Is/RobertO Lampl
                                                                     ROBERTO LAMPL
                                                                     PA ID. #1 9809
                    •                                                JOHN P. LACHER PA 1.0. #62297
                                                                     RYAN J. COONEY
                    •                                                PAI.D.#319213
                                                                     SYO.LAMPL
                                                                     PA ID. #324741
                                                                     counsel br the Debtor
                                                                     223 Fourth Avenue. 4th Fl.
                                                                     Pittsburgh, PA 15222
                                                                      412)392-0330 (phone)
                                                                      412) 392-0335 (Iac&mile)
                                                                     Email: rlampl@lampllaw.com
                    February 22, 2021           -
